                    Case 1:17-mj-00091-TCB Document 16 Filed 11/13/17 Page 1 of 3 PageID# 34
Prob 12 ( I 0/09)
VAE (rev. 5/17)
                                      UNITED STATES DISTRICT COURT
                                                 for the
                                      EASTERN DISTRICT OF VIRGINIA
U.S.A. vs. Michelle F. Fayak                                        Docket No. 1: 17MJ00091

                                                  Petition on Probation

       COMES NOW Sherylle Gant, PROBATION OFFICER OF THE COURT, presenting an official report
upon the conduct and attitude of Michelle F. Fayak, who was placed on supervision by the Honorable
Theresa Carroll Buchanan, United States Magistrate Judge sitting in the Court at Alexandri� Virginia, on the
23rd day of May, 2017, who fixed the period of supervision at 6 months, and imposed the general terms and
conditions heretofore adopted by the Court and also imposed special conditions and terms as follows:

           1)         the defendant shall continue Mental Health Testing/Treatment at the direction of the probation
                      officer.
           2)         no fine imposed; mandatory $10.00 special assessment, to be paid within thirty (30) days.

The special assessment was satisfied May 23, 3017.



RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                                      See Attachment(s)


PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.


                          ----------------
Returnable Date: December 5, 2017 @10:00 am




                                                                                 cI:BJr
ORDER OF COURT                                                    I declare under the penalty of perjury that the
                                                                  foregoing is true and correct.
Considered and ordered this              day of
November, 2017, and ordered filed and made a part                 Execu ed on:
                                                                       �
of the records in the above case.

                                                                   �               Sherylle Gant
                                                                               U.S. Probation Officer
                                                                                  (703) 366-2131
                  Theresa Carroll Buchanan                        Place: Manassas
                United States Magistrate Judge




TO CLERK'S OFFICE
Case 1:17-mj-00091-TCB Document 16 Filed 11/13/17 Page 2 of 3 PageID# 35
Case 1:17-mj-00091-TCB Document 16 Filed 11/13/17 Page 3 of 3 PageID# 36
